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                                                                                        Form 1
                                                                                                                                                                                               Page: 1-1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    8:13-bk-06891-CED                                                                                                  Trustee Name:        (290278) Christine L. Herendeen
Case Name:       PREFERABLE HQ, LLC                                                                                             Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                                § 341(a) Meeting Date:       06/24/2013
For Period Ending:      09/30/2021                                                                                              Claims Bar Date: 09/23/2013

                                                       1                                 2                             3                            4                      5                          6

                                             Asset Description                        Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)          Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                       Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                         and Other Costs)                                                             Remaining Assets

    1       Various Causes of Action (u)                                                       1,000.00                         1,000.00                                               0.00                1,000.00

    2       Litigation (transfers) - MDT / Traina et al (u)                                  100,000.00                       100,000.00                                       100,000.00                          FA

    3       Litigation - Synovus Bank (u)                                                    298,125.00                       298,125.00                                       298,125.00                          FA

    3       Assets                 Totals        (Excluding unknown values)              $399,125.00                        $399,125.00                                     $398,125.00                   $1,000.00
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                                                                           Form 1
                                                                                                                                                                              Page: 1-2
                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    8:13-bk-06891-CED                                                                                          Trustee Name:      (290278) Christine L. Herendeen
Case Name:     PREFERABLE HQ, LLC                                                                                       Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                        § 341(a) Meeting Date:   06/24/2013
For Period Ending:   09/30/2021                                                                                         Claims Bar Date: 09/23/2013


      Major Activities Affecting Case Closing:
                                  10/03/21: Appeal(s) pending decision: Regions: 8:14-ap-00653-CED & 8:15-ap-00118-CED (Lead ADV Pro.) various orders, including Orders Granting
                                  MSJ of Regions Bank & Orders Denying MSJ of Estate, appeal in MD FL, Tampa Div, Lead Case: 8:20-cv-02891-SDM.
                                  09/16/21: Appeal status: No change, pending decision. 06/16/21: Appellant’s Reply Brief filed on behalf of the Bankruptcy Estate. 05/28/21:
                                  Appellee’s Brief filed on behalf of Regions Bank. 05/03/21: Order entered granting Regions filed Motion to Maintain Documents under Seal as Part of
                                  the Record on Appeal. 04/28/21: Appellant’s Brief filed on behalf of the Bankruptcy Estate. 04/28/21: Regions filed Motion to Maintain Documents
                                  under Seal as Part of the Record on Appeal. 04/21/21: District Court order entered in pending appeals granting Appellant’s motion seeking approval to
                                  submit court clerk’s transmission of pleadings, exhibits, and other papers, which the parties submitted under seal during the bankruptcy. Regions Bank
                                  must submit a motion to maintain the seal by no later than April 28, 2021. 04/16/21: Received FL unclaimed funds in Able Body Gulf Coast Inc. and
                                  Organized Confusion LLP cases. 02/08/21: Appellee Designation of Contents for Inclusion in Record of Appeal filed in all 16 cases. 01/11/21:
                                  Discovered unclaimed funds with State of FL. FL unclaimed funds applications submitted in Able Body Gulf Coast Inc. and Organized Confusion LLP
                                  cases. 01/06/20: Order Granting Motion to Extend Time (to Jan. 25th for Appellant). 12/30/20: Agreed Order Regarding Regions’ Motion to Tax Costs
                                  entered. (abated pending appeal). 12/15/20: Regions’ Motion to Tax Costs filed (Filed in ADV proc.). 12/10/20: Order Denying Motion for Rehearing
                                  of Order Denying Trustees Motion to Approve Compromise entered. 12/08/20: Order Granting Joint Motion for Enlargement of Time (to Jan. 18th for
                                  Appellant). 12/03/20: Notice of Appeal filed on behalf of Bankr. Estates. 12/01/20: Final Judgment in Favor of Defendant Regions Bank entered.
                                  11/19/20: Orders entered on all pending Motions, primarily, Motions for Summary Judgment granted in favor of Regions Bank and denied as to the
                                  various claims by the Estate. SEE PACER docket for details. 07/07/20: Court cancelled July 14th hearing, again taking all pending matters under
                                  advisement. 06/01/20 – 08/05/20: Various Replies, Responses, Motions, and Opposition filed in connection with the Motion for Adverse Inference or,
                                  Alternatively, to Preclude Regions from Offering Evidence in Support of Certain Defenses and Affirmative Defenses, and including a Motion to Strike
                                  Trustee Herendeen’s Jury Demand. 06/01/20: Agreed Order Setting Briefing Deadlines and Hearing Date on Trustee Herendeen's Motion for Adverse
                                  Inference or, Alternatively, to Preclude Regions from Offering Evidence in Support of Certain Defenses and Affirmative Defenses. 05/29/20: Joint
                                  Stipulation Regarding the Matters Scheduled For the June 12, 2020 Hearings filed. 05/27/20: Status Conference Held: Court will move all pending
                                  matters to the hearing set on 06/12/20 and will contact the parties for any further inquiry at the hearing date/time, if needed (before the July 14th final
                                  pre-trial conference). 5/22/20- 05/27/20: Various Replies, Responses, and Notices of Filing of transcripts filed in connection with the pending Motions
                                  for Summary Judgment, Motions to Exclude Expert Opinion Testimony, Requests to Take Judicial Notice, Motions to Strike, Motion for Adverse
                                  Inference or, alternatively, to Preclude Regions from Offering Evidence in Support of Certain Defenses and Affirmative Defenses and set for hearing on
                                  06/12/20. 04/20/20: Order entered granting Agreed Motion to Extend Deadlines and Re-Set Hearing Dates: Deadlines extended and hearings
                                  rescheduled. MSJ hearing rescheduled for 6/12/20 (also hrg on Daubert mtns and Req for Judicial Ntc); Final pre-trial status conference & Hrg on Jury
                                  Trial Issues rescheduled for 07/14/20. 03/30/20: Order entered granting Agreed Motion to Extend Deadlines and Re-Set Hearing Dates: Deadlines
                                  extended and hearings rescheduled to May 11th on request for judicial notice and June 10th on jury trial issues and final pretrial conference. 03/16/20:
                                  Reply to Regions Opposition to Motion for Rehearing. 03/09/20: Opposition/Response to Motion for Rehearing filed by Regions. 02/19/20: Motion for
                                  Rehearing of Order Denying Trustee's Motion to Approve Compromise with American Casualty Insurance Company of Reading, Pennsylvania and CNA
                                  Claims Plus, Inc. filed. 02/05/20: Order Denying Motion to Approve Compromise or Settlement Between Trustee, Christine L. Herendeen and
                                  American Casualty Insurance Company of Reading, Pennsylvania and CNA Claims Plus, Inc. entered. 01/07/20: Hearing held on compromise Mtn /
                                  Obj and Judge is taking it under advisement. 12/24/19: Request to Take Mandatory Judicial Notice filed by Plaintiff/Trustee. (Regions ADV)
                                  12/09/19: Order Granting Agreed Motion filed extending certain deadlines and hearings / conferences. (Regions ADV) 12/02/19: Plaintiff’s Motion for
                                  Partial Summary Judgment filed in connection with all 16 ADV proceedings v Regions and Regions Motions for Partial Summary Judgement (7 Motions)
                                  filed, as well as various pre-trial motions to exclude expert witness opinions/testimony and multiple papers filed under seal. (Regions ADV) 11/21/19:
                                  Regions Objection to the Motion to Approve Settlement/Compromise with American Casualty / CNA filed. 11/05/19: Order entered granting Plaintiff’s
                                  Motion to Reconsider and Vacate the Reference to a Nonjury Trial in Interlocutory Orders at Docket Numbers 130, 163, and 180. 11/01/19:
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                                                                           Form 1
                                                                                                                                                                            Page: 1-3
                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case No.:    8:13-bk-06891-CED                                                                                        Trustee Name:      (290278) Christine L. Herendeen
Case Name:     PREFERABLE HQ, LLC                                                                                     Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                      § 341(a) Meeting Date:   06/24/2013
For Period Ending:   09/30/2021                                                                                       Claims Bar Date: 09/23/2013

                                  Agreed order entered allowing disposition of the WC records at DL's home. 10/31/19: SC filed Motion to Approve Settlement/Compromise with
                                  American Casualty / CNA on claims. 10/02/19: Case management and Scheduling Order entered. 09/25/19: Order entered re. use of certain depos
                                  and Mtn for Rehrgon Mtn for Protective order re bene esse depos. 08/13/19: SC filed Motion for Reconsideration and to Vacate the Reference to a
                                  Nonjury Trial in Interlocutory Orders filed. 08/02/19: SC filed Mtn re use of certain depos and rehg on mtn for protective order re bene esse depos.
                                  07/22/19: Order Granting in Part and Denying in Part Motion For Protective Order To Prohibit Or Delay Trustee Herendeens July 10 De Bene Esse
                                  Depositions entered. 07/22/19: Motion for Protective Order To Prohibit Or Delay Trustee Herendeen's July 10 De Bene Esse Depositions filed by
                                  opposing counsel. 05/07/19: Order Granting In Part Trustee Herendeens Second Omnibus Motion to Compel Regions Bank to Provide Better Answers
                                  to Second Set of Interrogatories Served on July 24, 2018 entered. 06/04/19: Order Granting Motion To Pay Ghiglieri & Company Additional Invoices
                                  as Banking Law Expert and Litigation Consultant (approved through trial based on budget attached to motion). 04/22/19: SC filed Second Motion to
                                  Compel Regions Bank to Provide Better Answers to Second Set of Interrogatories. 03/13/19: Amended Answer to Amended Complaint and Affirmative
                                  Defenses filed by Regions. 02/25/19: Order Granting in Part Motion To Compel Regions Bank to Provide Better Answers to Plaintiffs Second Set of
                                  Interrogatories and Order Denying Motion to Strike or Dismiss Regions' Counterclaim and Affirmative Defenses entered. 02/12/19: Agreed Order
                                  Granting Motion To Amend Training U, LLC's Complaint. 01/22/19: Mediator's Report and Notice of Inability to Reach an Agreement in Mediation Filed
                                  by Mediator Honorable Michael G. Williamson, Judicial Mediator. 01/04/19: SC filed Motion to Amend (Motion for Leave to Amend Training U, LLC's
                                  Complaint). 11/28/18: Notice of Service of Regions Bank's Rebuttal Expert Report filed by Regions. 11/20/18: Order Granting Trustee Herendeen's
                                  Motion for Leave to Amend Complaints in the SJ Debtors Cases entered. 11/20/18: Orders entered approving Motion/Application to Pay Banking
                                  Expert / Ghiglieri & Company. 10/31/18: Filed Motion/Application to Pay Ghiglieri & Company Additional Invoices as Banking Law Expert and Litigation
                                  Consultant. 10/04/18: Third Amended Agreed Order Setting Trial and Establishing Pretrial Procedures. MSJ's due by 1/25/19 and hrg on 3/26/19.
                                  09/04/18: Order Granting in Part and Denying in Part Motion for Reconsideration of Order Partially Granting Trustee Herendeen's Motion for Partial
                                  Summary Judgment by Regions Bank -- GRANTED on the issue of the existence of a creditor as of the date of the Subject Transfers as to Training U
                                  and DENIED as to the Court's ruling in the Summary Judgment Order as to Regions' Ninth Affirmative Defense. 07/05/18: Regions filed a Motion for
                                  Reconsideration of the order on MSJ. 07/04/18: Second Amended Order Setting Trial and Establishing Procedures entered. 06/20/18: Memorandum
                                  Opinion entered granting in part and denying in part Plaintiff's Motion for Summary Judgment (Count IV denied in part & granted in part; Count VII
                                  denied; Granted on the issue of good faith as to 9th Aff Defense; grant on 12th Aff Defense). 04/13/18: Mediation held with Regions – no agreement
                                  reached. 01/02/18: Agreed order (in part) entered on Moton to Amend ADV complaints v Regions and Amended Complaints filed. 11/16/17: Motion to
                                  Amend ADV Complaints v Regions filed in connection with all of the 16 cases. 09/21/17: Motions for Summary Judgment v Regions filed in 4 of the 16
                                  ADV proceedings. 06/12/17: Litigation pending in Regions ADV (discovery stage). 03/09/17: Litigation pending in Regions ADV (discovery stage).
                                  12/10/16: Litigation pending in Regions ADV (discovery stage). 09/09/16: Order entered approving compromise with Synovus. Synovus adversaries
                                  dismissed. All applications for compensation in connection with Synovus settlement approved (Berger Singerman, Yip, Welch). Mtn to dispose of
                                  records granted (after 30 days) and reimbursement of storage expenses approved. 6/02/16: MDT / Traina compromise funded w/allocation among the
                                  10 entities involved in MDT sale. Applications for comp approved & paid (Berger Singerman). 02/01/16: 11th Circuit upheld the court's ruling,
                                  approving the MDT / Traina compromise order (Regions appeal to District Court - upheld, then 11th Circuit Court). 07/03/15: Synovus & Regions
                                  Adversary proceedings to be jointly administered, lead cases determined, discovery underway. Case Mgt reports filed. 04/04/15: Regions filed a Notice
                                  of Appeal of MD court decision, affirming the bankruptcy court, to the 11th Circuit. 04/04/15: Anne Mongeulluzzi appeal of MDT / Traina compromise
                                  dismissed for lack of prosecution. 03/16/15: Mediation with Regions in JAX per agreement (2/2 hrg) and subsequent order entered by the court. No
                                  agreement reached. 01/30/15: ADV proceedings filed against Regions in all corp cases & remainder of ADV proceedings filed against Synovus (all
                                  corp cases). 11/25/14: Regions filed a counterclaim against Trustee Herendeen in Mongelluzzi ADV (similar to Synovus counterclaim) seeking
                                  declaratory relief. 10/31/14: ADV proceedings filed against Synovus in 7 of the related corporate cases; additional complaints to be filed at a a future
                                  date. 09/05/14: Joinder by 16 Est filed in Mongelluzzi MTD re Synovus counterclaim. HRG on both MTD's on 9/30/14. 08/25/14: MTD filed by 16 corp
                                  estates re Synovus counterclaim in Mongelluzzi v Synovus ADV pro. 08/07/14: Anne Mongelluzzi filed appeal re Order approving MDT / Traina
                                  compromise. 07/23/14: District Court in Mongelluzzi v Synovus action remanded the case to the bankruptcy court (ADV 8:14-ap-00645-CED).
                                  07/17/14: Attended mediation with Mongelluzzi group and Synovus per their district court order and our voluntary participation in same. 07/11/2014:
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                                                                             Form 1
                                                                                                                                                                                Page: 1-4
                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    8:13-bk-06891-CED                                                                                          Trustee Name:      (290278) Christine L. Herendeen
Case Name:     PREFERABLE HQ, LLC                                                                                       Date Filed (f) or Converted (c): 05/24/2013 (f)
                                                                                                                        § 341(a) Meeting Date:   06/24/2013
For Period Ending:   09/30/2021                                                                                         Claims Bar Date: 09/23/2013

                                  Synovus filed counterclaim against 16 corporate estates in the Mongelluzzi District Court action. 07/08/14: Regions filed appeal re Order approving
                                  MDT / Traina compromise. 05/22/14: Order entered approving compromise with MDT / Traina. 03/22/14: Motion for Extension of Time to File Inter-
                                  Company Claims filed and granted (60 additional days to June 20, 2014). Motion to Approve Compromise re settlement with MDT / Traina / True Blue
                                  filed and set for hearing on 4/14 along with Motion to Modify Compensation Agreement of Berger Singerman (part contingency / part hourly). Court
                                  approved employment of Andrea Bauman as CPA for taxes and court approved employment of Yip and Associates as forensic accountant. Final
                                  vehicle has been sold at auction in YJNK II related case with app for comp filed and all Bills of Sale filed. 01/31/14: MDT / Traina / True Blue
                                  Settlement Agreement approved and signed by all parties / estates. Motion to Approve Compromise to be filed. Other causes of action filed by
                                  Mongelluzzi estate; under review by counsel in the corporate cases. 12/09/13: Attended hearing on Motion to Approve Disposal of Records. Hearing
                                  continued to 2/10/13. 11/23/13: Relief granted to Sterling Bank pursuant to an agreement between the parties re collection of receivables and
                                  reservation of all rights. 11/21/13: Attended 2004 with MDT / Mike Trainia in Oct and mediation in Nov. No settlement and ADV Complaint filed on
                                  11/20/13. 10/01/13: Agreed Motions for 2004 Exams of Michael Traina, MDT, & True Blue filed, orders granting same enterered & Notices of 2004
                                  Exams filed. Demand letters sent to certain third parties. 08/15/13: Letters sent to various parties requesting turnover of records to various holders of
                                  company financial records. 07/29/13: 341 Mtgs held and concluded. 07/15/13: Order entered approving employment of counsel for the Estate.
      Initial Projected Date Of Final Report (TFR):         05/24/2015                                  Current Projected Date Of Final Report (TFR):              10/31/2022
                                                              Case 8:13-bk-06891-CED               Doc 238            Filed 10/08/21              Page 5 of 11

                                                                                      Form 2
                                                                                                                                                                                                       Page: 2-1
                                                                      Cash Receipts And Disbursements Record
Case No.:                       8:13-bk-06891-CED                                                            Trustee Name:                        Christine L. Herendeen (290278)
Case Name:                      PREFERABLE HQ, LLC                                                           Bank Name:                           Mechanics Bank
Taxpayer ID #:                  **-***2226                                                                   Account #:                           ******3166 Checking Account
For Period Ending:              09/30/2021                                                                   Blanket Bond (per case limit):       $30,832,000.00
                                                                                                             Separate Bond (if applicable):       N/A

    1            2                                  3                                                        4                                                 5                      6                      7

  Trans.    Check or                      Paid To / Received From                        Description of Transaction                        Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                       Tran. Code          $                        $

 06/02/16     {2}        Berger Singerman LLP                          Funds received pursuant to Order Granting Motion to Approve         1241-000                90,909.09                                     90,909.09
                                                                       Compromise with MDT et al (Doc. No. 126), affirmed on appeal
                                                                       by the 11th Cir. (Doc. No. 151). clh
 06/04/16     101        Berger Singerman LLP                          Attorney's fees/costs pursuant to Order Approving Application       3210-000                                       24,319.29              66,589.80
                                                                       for Compensation (Doc. No. 171). clh
 06/04/16     102        Berger Singerman LLP                          Attorney's fees/costs pursuant to Order Approving Application       3220-000                                        7,500.82              59,088.98
                                                                       for Compensation (Doc. No. 171). clh
 06/06/16     {2}        Christine L Herendeen, Trustee                MISDEPOSIT to YJNK II, Inc. case (Case No. 13-06869) & RE-          1241-000                 9,090.91                                     68,179.89
                                                                       DEPOSIT to correct cases for funds received pursuant to Order
                                                                       Granting Motion to Approve Compromise with MDT et al (Doc.
                                                                       No. 126), affirmed by 11th Cir. (Doc. No. 151). clh
 06/30/16                Rabobank, N.A.                                Bank and Technology Services Fee                                    2600-000                                          97.79               68,082.10
 07/29/16                Rabobank, N.A.                                Bank and Technology Services Fee                                    2600-000                                          94.40               67,987.70
 08/31/16                Rabobank, N.A.                                Bank and Technology Services Fee                                    2600-000                                         107.27               67,880.43
 09/30/16                Rabobank, N.A.                                Bank and Technology Services Fee                                    2600-000                                          97.36               67,783.07
 10/03/16     {3}        Synovus Financial Corp. o/b/o Synovus Bank    Settlement funds pursuant to Order Granting Mtn to Approve          1241-000            298,125.00                                    365,908.07
                                                                       Settlement Agmt with Synovus Bank (Doc. No. 186)(Ref para#
                                                                       4 re equal allocation among 16 corp estates). clh
 10/04/16     103        Berger Singerman LLP                          Pmt of attorney's fees per to Order Awarding First and Final        3210-000                                    104,343.75            261,564.32
                                                                       App for Comp re Synovus settlement (Doc. No. 188) & Order
                                                                       Granting Mtn to Approve Settlement Agmt w/Synovus Bank
                                                                       (Doc. No. 186). clh
 10/04/16     104        Berger Singerman LLP                          Pmt of attorney's exp per to Order Awarding First and Final App     3220-000                                        4,240.50          257,323.82
                                                                       for Comp re Synovus settlement (Doc. No. 188) & Order
                                                                       Granting Mtn to Approve Settlement Agmt w/Synovus Bank
                                                                       (Doc. No. 186). clh
 10/04/16     105        Yip Associates                                Forensic acct fees/exp awarded pursuant to Order Awarding           3410-000                                       15,763.50          241,560.32
                                                                       First Interim App for Comp (Doc. No. 190). clh
 10/04/16     106        Yip Associates                                Forensic acct fees/exp awarded pursuant to Order Awarding           3420-000                                         191.30           241,369.02
                                                                       First Interim App for Comp (Doc. No. 190). clh
 10/07/16     107        Angela Welch, Trustee                         Admin Exp under 503(b)(1)(a) awarded pursuant to Amended            2990-000                                        8,336.04          233,032.98
                                                                       Order Granting App for Allowance of Admin Exp Claim (Doc.
                                                                       No. 192). clh
 10/07/16     108        Christine L. Herendeen                        Storage expenses for records in TX pursuant to Order Granting       2410-000                                         409.64           232,623.34
                                                                       Mtn for Reimbursement of Expenses (Doc. No. 201, Able Body
                                                                       Temp Serv Inc., Case no. 13-06864, equal allocation). clh
 10/31/16                Rabobank, N.A.                                Bank and Technology Services Fee                                    2600-000                                         389.43           232,233.91


                                                                                                                                      Page Subtotals:         $398,125.00            $165,891.09


{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
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                                                                                          Form 2
                                                                                                                                                                                                          Page: 2-2
                                                                          Cash Receipts And Disbursements Record
Case No.:                        8:13-bk-06891-CED                                                               Trustee Name:                        Christine L. Herendeen (290278)
Case Name:                       PREFERABLE HQ, LLC                                                              Bank Name:                           Mechanics Bank
Taxpayer ID #:                   **-***2226                                                                      Account #:                           ******3166 Checking Account
For Period Ending:               09/30/2021                                                                      Blanket Bond (per case limit):       $30,832,000.00
                                                                                                                 Separate Bond (if applicable):       N/A

    1            2                                   3                                                            4                                                5                     6                      7

  Trans.    Check or                       Paid To / Received From                           Description of Transaction                        Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                           Tran. Code          $                       $

 11/06/16     109        Mobile Shred It                                   Cost of disposal of records in TX storage unit pursuant to Order   2420-000                                         48.44            232,185.47
                                                                           Approving Expenses for Destruction of Records (Doc. No. 202).
                                                                           clh
 11/30/16                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        355.33            231,830.14
 12/03/16     110        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting          3991-000                                       1,386.33           230,443.81
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 194)(Inv #8). clh
 12/30/16                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        331.14            230,112.67
 01/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        352.98            229,759.69
 02/03/17     111        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting          3991-000                                       1,107.42           228,652.27
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 194)(Inv #9 & 10).
                                                                           clh
 02/28/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        307.64            228,344.63
 03/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        339.38            228,005.25
 04/02/17     112        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting          3991-000                                       1,013.91           226,991.34
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 194)(Inv #11 & 12).
                                                                           clh
 04/02/17     113        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness expenses pursuant to Order               3992-000                                         31.65            226,959.69
                                                                           Granting Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 205)(Inv #11). clh
 04/28/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        305.18            226,654.51
 05/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        358.60            226,295.91
 06/30/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        325.49            225,970.42
 07/14/17     114        Catherine A. Ghiglieri and Ghiglieri &            Payment of expert witness fees pursuant to Order Granting          3991-000                                       2,280.47           223,689.95
                                                                           Motion for Approval of Monthly Payments to Ghiglieri
                                                                           Consistent with Proposed Budget (Doc. No. 194)(Inv #13). clh
 07/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        313.09            223,376.86
 08/31/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        353.45            223,023.41
 09/29/17                Rabobank, N.A.                                    Bank and Technology Services Fee                                   2600-000                                        310.09            222,713.32
 10/01/17     115        Berger Singerman LLP                              Attorney's fees/costs pursuant to Order Approving Application      3220-000                                       4,717.29           217,996.03
                                                                           for Compensation (Doc. No. 199). clh
 10/01/17     116        Berger Singerman LLP                              Attorney's fees/costs pursuant to Order Approving Application      3210-000                                       7,477.15           210,518.88
                                                                           for Compensation (Doc. No. 199). clh

                                                                                                                                        Page Subtotals:                   $0.00          $21,715.03


{ } Asset Reference(s)                                                                                                                                                            ! - transaction has not been cleared
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                                                                                               Form 2
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                                                                               Cash Receipts And Disbursements Record
Case No.:                       8:13-bk-06891-CED                                                                    Trustee Name:                      Christine L. Herendeen (290278)
Case Name:                      PREFERABLE HQ, LLC                                                                   Bank Name:                         Mechanics Bank
Taxpayer ID #:                  **-***2226                                                                           Account #:                         ******3166 Checking Account
For Period Ending:              09/30/2021                                                                           Blanket Bond (per case limit):     $30,832,000.00
                                                                                                                     Separate Bond (if applicable):     N/A

    1            2                                 3                                                                  4                                              5                     6                      7

  Trans.    Check or                   Paid To / Received From                                    Description of Transaction                     Uniform          Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                                                                             Tran. Code          $                       $

 10/31/17                Rabobank, N.A.                                         Bank and Technology Services Fee                                 2600-000                                       330.00            210,188.88
 11/30/17                Rabobank, N.A.                                         Bank and Technology Services Fee                                 2600-000                                       302.32            209,886.56
 12/29/17                Rabobank, N.A.                                         Bank and Technology Services Fee                                 2600-000                                       291.82            209,594.74
 01/31/18                Rabobank, N.A.                                         Bank and Technology Services Fee                                 2600-000                                       331.61            209,263.13
 02/28/18                Rabobank, N.A.                                         Bank and Technology Services Fee                                 2600-000                                       280.92            208,982.21
 03/30/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       300.58            208,681.63
 04/30/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       290.15            208,391.48
 05/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       329.74            208,061.74
 06/21/18     117        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting        3991-000                                      1,468.36           206,593.38
                                                                                Motion for Approval of Monthly Payments to Ghiglieri
                                                                                Consistent with Proposed Budget (Doc. No. 194 & 202)(Inv
                                                                                #14). clh
 06/29/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       289.28            206,304.10
 07/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       316.72            205,987.38
 08/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       306.15            205,681.23
 09/28/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       157.78            205,523.45
 10/31/18                Rabobank, N.A.                                         Bank and Technology Services Fees                                2600-000                                       185.81            205,337.64
 11/25/18     118        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting        3991-000                                      2,821.87           202,515.77
                                                                                Motion for Authorization to Pay Ghiglieri & Company (Doc. No.
                                                                                205 & 208)(Inv #15). clh
 11/25/18     119        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness expenses pursuant to Order             3992-000                                        44.11            202,471.66
                                                                                Granting Motion for Authorization to Pay Ghiglieri & Company
                                                                                (Doc. No. 205 & 208)(Inv #15). clh
 02/02/19     120        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting        3991-000                                      1,953.99           200,517.67
                                                                                Motion for Authorization to Pay Ghiglieri & Company (Doc. No.
                                                                                205 & 208)(Inv #16). clh
 03/13/19                Transfer Debit to Metropolitan Commercial Bank acct    Transition Debit to Metropolitan Commercial Bank acct            9999-000                                   200,517.67                     0.00
                         ******5352                                             3910015352




                                                                                                                                            Page Subtotals:                 $0.00         $210,518.88


{ } Asset Reference(s)                                                                                                                                                              ! - transaction has not been cleared
                                                   Case 8:13-bk-06891-CED          Doc 238             Filed 10/08/21         Page 8 of 11

                                                                           Form 2
                                                                                                                                                                                   Page: 2-4
                                                           Cash Receipts And Disbursements Record
Case No.:                8:13-bk-06891-CED                                                   Trustee Name:                    Christine L. Herendeen (290278)
Case Name:               PREFERABLE HQ, LLC                                                  Bank Name:                       Mechanics Bank
Taxpayer ID #:           **-***2226                                                          Account #:                       ******3166 Checking Account
For Period Ending:       09/30/2021                                                          Blanket Bond (per case limit):   $30,832,000.00
                                                                                             Separate Bond (if applicable):   N/A

    1            2                       3                                                    4                                            5                     6                      7

  Trans.    Check or           Paid To / Received From                    Description of Transaction                   Uniform          Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                                                   Tran. Code          $                       $


                                                              COLUMN TOTALS                                                                 398,125.00            398,125.00                    $0.00
                                                                     Less: Bank Transfers/CDs                                                     0.00            200,517.67
                                                              Subtotal                                                                      398,125.00            197,607.33
                                                                     Less: Payments to Debtors                                                                             0.00

                                                              NET Receipts / Disbursements                                                 $398,125.00           $197,607.33




{ } Asset Reference(s)                                                                                                                                   ! - transaction has not been cleared
                                                             Case 8:13-bk-06891-CED                         Doc 238            Filed 10/08/21            Page 9 of 11

                                                                                               Form 2
                                                                                                                                                                                                            Page: 2-5
                                                                               Cash Receipts And Disbursements Record
Case No.:                       8:13-bk-06891-CED                                                                     Trustee Name:                      Christine L. Herendeen (290278)
Case Name:                      PREFERABLE HQ, LLC                                                                    Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:                  **-***2226                                                                            Account #:                         ******5352 Checking Account
For Period Ending:              09/30/2021                                                                            Blanket Bond (per case limit):     $30,832,000.00
                                                                                                                      Separate Bond (if applicable):     N/A

    1            2                                 3                                                                   4                                              5                     6                    7

  Trans.    Check or                   Paid To / Received From                                    Description of Transaction                      Uniform          Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                                                                              Tran. Code          $                       $

 03/13/19                Transfer Credit from Rabobank, N.A. acct ******3166    Transition Credit from Rabobank, N.A. acct 5016723166             9999-000            200,517.67                                  200,517.67
 07/01/19    1000        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting         3991-000                                      1,628.13          198,889.54
                                                                                Motion for Authorization to Pay Additional Invoices to Banking
                                                                                Law Expert Ghiglieri (Doc. No. 213)(Inv #17).
 03/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       158.94           198,730.60
 04/26/20    1001        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting         3991-000                                      1,255.08          197,475.52
                                                                                Motion for Authorization to Pay Additional Invoices to Banking
                                                                                Law Expert Ghiglieri (Doc. No. 213)(Inv #19).
 04/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       317.64           197,157.88
 05/29/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       304.89           196,852.99
 06/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       335.61           196,517.38
 07/20/20    1002        Catherine A. Ghiglieri and Ghiglieri & Company         Payment of expert witness fees pursuant to Order Granting         3991-000                                      1,025.39          195,491.99
                                                                                Motion for Authorization to Pay Additional Invoices to Banking
                                                                                Law Expert Ghiglieri (Doc. No. 213)(Inv #20).
 07/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       324.35           195,167.64
 08/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       301.54           194,866.10
 09/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       332.26           194,533.84
 10/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       310.93           194,222.91
 11/06/20    1003        Stephen Busey                                          Mediator’s fees (est share of 33.33%) pursuant to order           3721-000                                       270.69           193,952.22
                                                                                granting mtn for auth to pay mediators fee (Doc. No. 235).
 11/30/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       299.85           193,652.37
 12/31/20                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       340.50           193,311.87
 01/29/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       299.47           193,012.40
 02/26/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       288.72           192,723.68
 03/31/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       339.77           192,383.91
 04/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       308.34           192,075.57
 05/28/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       287.32           191,788.25
 06/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       338.12           191,450.13
 07/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       306.84           191,143.29
 08/31/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       326.77           190,816.52
 09/30/21                Metropolitan Commercial Bank                           Bank and Technology Services Fees                                 2600-000                                       305.82           190,510.70

                                                                                                                                             Page Subtotals:         $200,517.67            $10,006.97


{ } Asset Reference(s)                                                                                                                                                             ! - transaction has not been cleared
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                                                                          Form 2
                                                                                                                                                                                   Page: 2-6
                                                          Cash Receipts And Disbursements Record
Case No.:                8:13-bk-06891-CED                                                   Trustee Name:                    Christine L. Herendeen (290278)
Case Name:               PREFERABLE HQ, LLC                                                  Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:           **-***2226                                                          Account #:                       ******5352 Checking Account
For Period Ending:       09/30/2021                                                          Blanket Bond (per case limit):   $30,832,000.00
                                                                                             Separate Bond (if applicable):   N/A

    1            2                       3                                                    4                                            5                     6                      7

  Trans.    Check or           Paid To / Received From                    Description of Transaction                   Uniform          Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                                                   Tran. Code          $                       $


                                                              COLUMN TOTALS                                                                 200,517.67               10,006.97          $190,510.70
                                                                     Less: Bank Transfers/CDs                                               200,517.67                     0.00
                                                              Subtotal                                                                             0.00              10,006.97
                                                                     Less: Payments to Debtors                                                                             0.00

                                                              NET Receipts / Disbursements                                                        $0.00           $10,006.97




{ } Asset Reference(s)                                                                                                                                    ! - transaction has not been cleared
                                                    Case 8:13-bk-06891-CED       Doc 238        Filed 10/08/21         Page 11 of 11

                                                                         Form 2
                                                                                                                                                              Page: 2-7
                                                         Cash Receipts And Disbursements Record
Case No.:                  8:13-bk-06891-CED                                              Trustee Name:                 Christine L. Herendeen (290278)
Case Name:                 PREFERABLE HQ, LLC                                             Bank Name:                    Metropolitan Commercial Bank
Taxpayer ID #:             **-***2226                                                     Account #:                    ******5352 Checking Account
For Period Ending:         09/30/2021                                                     Blanket Bond (per case limit): $30,832,000.00
                                                                                          Separate Bond (if applicable): N/A


                                        Net Receipts:           $398,125.00
                           Plus Gross Adjustments:                    $0.00
                         Less Payments to Debtor:                     $0.00
                 Less Other Noncompensable Items:                     $0.00

                                          Net Estate:           $398,125.00




                                                                  TOTAL - ALL ACCOUNTS                        NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                  ******3166 Checking Account                       $398,125.00           $197,607.33          $0.00

                                                                  ******5352 Checking Account                                  $0.00             $10,006.97    $190,510.70

                                                                                                                      $398,125.00              $207,614.30     $190,510.70
